     Case 2:25-cv-00227      Document 8       Filed 04/21/25      Page 1 of 21 PageID #: 130




                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

HARRY WILEY, individually
and on behalf of all others similarly situated,

         Plaintiff,

v.                                                           Civil Action No. 2:25-cv-227
                                                             (Honorable Irene C. Berger)

ROBERT F. KENNEDY, JR., in his
official capacity as Secretary of Health and Human Services, and
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES

         Defendants.

                 PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                      MOTION FOR PRELIMNARY INJUNCTION

                                       I. INTRODUCTION

         It is well known that coal mining is dangerous work. Perhaps the most persistent, and most

infamous, of these dangers is coal mine dust lung disease (“CMDLD”) or Black Lung. Black Lung

is caused by the dust that miners inhale as they cut ever deeper into the toxic sandstone underlying

Appalachia to reach new seams of coal. The damage from this dust causes a range of symptoms,

progressing from persistent coughing and chest tightness to the production of black sputum,

wheezing and crackling in the lungs, and eventually massive fibrosis and death. There is no cure.

         There are solutions, however. Since 1969 Congress has provided, under what is now the

Mine Act and through the Department of Health and Human Services (HHS), a program in which

active miners can be tested for developing Black Lung and moved to safer positions in a mine,

where the disease will not progress as quickly. It is not a cure, but for decades this program gave

sick miners a shot at longer lives and lower risk of developing a debilitating disease.
  Case 2:25-cv-00227        Document 8        Filed 04/21/25        Page 2 of 21 PageID #: 131




       Then, on April 1 of this year, Defendants terminated almost every employee in the

Respiratory Health Division of the National Institute for Occupational Safety and Health

(NIOSH)—the arm of HHS responsible for helping these miners. Without these employees, HHS

cannot carry out the Black Lung screening program, meaning that miners like Plaintiff Harry Wiley

are stuck in positions where they are being forced, right now, to keep inhaling the dust that is

destroying their ability to breathe. Congress gave sick miners a lifeline, and this administration’s

HHS has taken it away.

       Harry Wiley now moves for a preliminary injunction seeking to restore all personnel in the

Respiratory Health Division of NIOSH who are integral to carrying out the epidemiological

surveillance and job transfer provisions of the federal Mine Act.

                                II. FACTUAL BACKGROUND

       On April 1, 2025, Defendant terminated, or placed on administrative leave, most of the

critical employees for the Coal Workers’ Health Surveillance Program (“CWHSP”)—the screening

program mandated by the Mine Act—without prior notice. Verified Statement of Anthony Scott

Laney (Ex. A). These employees included the chief medical officer overseeing the CWHSP and

the associated job transfer program (commonly called Part 90, after its implementing regulations).

Id.

       These firings were part of a massive series of cuts to the entirety of HHS, cuts that Secretary

Robert F. Kennedy, Jr. admitted will contain “mistakes.” See Brandon Drenon, “‘We’ll Make

Mistakes’ Says RFK as Fired US Health Staff Return to Work,” BBC News (April 4, 2025) (Ex.

B). Although he is responsible for the terminations, Secretary Kennedy is “not familiar” with all

of the programs subject to his cuts. Hoffman, et al., “RFK Jr. Says he’s ‘Not Familiar with All

Health Program Cuts’ in Interview,” CBS News (April 9, 2025) (Ex. C). The perfunctory nature of



                                                 1
    Case 2:25-cv-00227      Document 8       Filed 04/21/25      Page 3 of 21 PageID #: 132




Kennedy’s cuts could not be more clear, but the ramifications are dire. According to a 2018 study

published in the American Journal of Public Heath, the rate of CMDLD in central Appalachian

coal miners is roughly 20%. Center for Disease Control, “Prevalence of Black Lung Continues to

Increase Among Appalachian Miners,” CDC Press Release 1 (Ex. D). Coal Miners who are still

working now have no recourse—as the former leader of the CWHSP put it: “We’re going to be

burying miners.” Mike Tony, “We’re Going to Be Burying Miners: NIOSH Cuts Gutting Key Work

in Safety Research,” Charleston Gazette-Mail (April 11, 2025) (Ex. E.) 2.

        One of those miners is Plaintiff Harry Wiley, a miner in Kanawha County, West Virginia.

Mr. Wiley works in a part of the mine where he is exposed to coal and silica dust, so when he

learned he was developing Black Lung he took the initial steps towards a Part 90 job transfer

through the CWHSP. Verified Statement of Harry Wiley (Ex. F). On November 8, 2024, he mailed

the appropriate form and a radiographic image of his chest to NIOSH and the Coal Workers’ Health

Surveillance Program, 1000 Frederick Land M/S LB 208, Morgantown, West Virginia, 26508. Id.

At the time of the filing of this Motion, Mr. Wiley had not received any response to his submission

to CWHSP. Id.

        Mr. Wiley has not received a response because HHS has effectively shut down the CWHSP.

By firing almost all the employees in the Respiratory Health Division, Defendants have made it

impossible for NIOSH to implement the CWHSP or Part 90, as the agency no longer has the

necessary personnel or expertise to do so. Verified Statement of Anthony Scott Laney. (Ex. A.)




1
 The data for this study was generated by the Coal Workers’ Health Surveillance Program – the
program at issue in this action.
2
 available at https://www.wvgazettemail.com/news/politics/were-going-to-be-burying-miners-
niosh-cuts-gutting-key-work-in-safety-research/article_85a4ecc0-f0d8-474c-bd68-
b99d153c251c.html
                                                2
  Case 2:25-cv-00227         Document 8        Filed 04/21/25       Page 4 of 21 PageID #: 133




There have been no indications that HHS has begun or even intends to restart the programs with

other employees or in other divisions, nor has HHS given any indication of what it intends to do

with the money Congress appropriated for the programs. See Id. And, while the effective shutdown

of the Respiratory Health Division is currently depriving miners like Mr. Wiley of the path to

safety that Congress provided, it is also self-evident that the longer HHS delays rehiring the

Morgantown employees, the more likely those employees are to attain permanent employment

elsewhere—if HHS cannot therefore rehire the personnel with the expertise to run the programs,

the current closure will become a permanent, unilateral cancellation of these Congressionally

mandated health measures.

       Mr. Wiley knows he has Black Lung because, when he applied for benefits from the West

Virginia Offices of the Insurance Commissioner, a three-doctor review panel from the state

Occupational Pneumoconiosis Board told him so. (Ex. F.) At the onset of pneumoconiosis, it is

critical to reduce exposure to heavy dust loads to prevent the development of progressive massive

fibrosis. See David Weissman, Progressive massive fibrosis: An overview of the recent Literature,

Pharmacology & Therapeutics (Dec. 2022) (Ex. G). The fact that Mr. Wiley must continue to work

in unsafe conditions—facing the certainty of further dust exposure and worsening his existing lung

disease—is purely the result of the decisions of Robert F. Kennedy Jr. and the Department of

Health and Human Services.

                  III. STATUTORY AND REGULATORY BACKGROUND

       To protect miners like Mr. Wiley from the worsening effects of Black Lung, Congress

passed the Coal Mine Health and Safety Act of 1969 (CMHSA), later amended by the federal Mine

Safety and Health Act of 1977 (Mine Act or Act). The Mine Act grants coal miners the right to

have respiratory diseases detected and, if a disease is detected, a right to transfer to positions that



                                                  3
    Case 2:25-cv-00227      Document 8        Filed 04/21/25      Page 5 of 21 PageID #: 134




are less damaging to their lungs. 30 U.S.C. § 843. The Act requires that “[t]he operator of a coal

mine shall cooperate with the Secretary of Health and Human Services in making available to each

miner working in a coal mine the opportunity to have a chest roentgenogram 3 . . . .” 30 U.S.C. §

843(a). These roentgenograms, or X-rays, are given on a specified schedule and “shall be read and

classified” through procedures set by HHS, which must in turn provide miners with results and

inform them of their rights under the chapter. 30 U.S.C. § 843(a). Those rights include, for miners

showing signs of pneumoconiosis, the option of transferring from his position to another position

in any area of the mine, for such period or periods as may be necessary to prevent further

development of such disease.” 30 U.S.C. § 843(b)(1).

        Two principal sets of regulations delineate how miners’ rights under the Mine Act are

effectuated. 42 C.F.R. §§ 37.1-204 define how HHS conducts, receives, and interprets miner

screenings, including X-rays. 30 C.F.R. §§ 90.1-301 in turn define how the miners evaluated by

HHS can take advantage of the rights afforded to them by the Mine Act and the protections they

are to receive from the Department of Labor. A miner like Mr. Wiley only becomes eligible for

Part 90 programs, however, when he, “in the judgment of the Secretary of HHS, has evidence of

the development of pneumoconiosis based on a chest X-ray, read and classified in the manner

prescribed by the Secretary of HHS.” 30 C.F.R. § 90.3 (effective until April 14, 2025); accord 30

C.F.R. § 90.3T (effective April 14, 2025). The HHS classification is therefore an irreplaceable part

of the statutory and regulatory structure of the Mine Act.

        In 1970, the Occupational Safety and Health Act of 1970 established the National Institute

for Occupational Safety and Health (“NIOSH”) as the research division of the Occupational Safety



3
  Roentgenogram is synonymous with an X-Ray. See Collins Online Dictionary available at:
https://www.collinsdictionary.com/us/dictionary/english/roentgenogram (last accessed April 14,
2025).
                                                 4
  Case 2:25-cv-00227          Document 8         Filed 04/21/25    Page 6 of 21 PageID #: 135




and Health Administration. 29 U.S.C. § 671. NIOSH’s office of Mine Safety and Health was

permanently established by Congress after the 2006 Sago Mine disaster to advance research and

technology-focused health and safety protections of the Mine Act. 29 U.S.C. § 671. Until

employees were terminated on April 2, 2025, HHS fulfilled its obligations to evaluate miner health

and guarantee position transfers to miners with signs of CMDLD through the Respiratory Health

Division of NIOSH’s Office of Mine Safety and Health. See, e.g., 42 C.F.R. §37.53 (detailing how

NIOSH reviews and classifies chest radiographs). In fact, Congress has specifically appropriated

funds to NIOSH for carrying out section 203 of the Mine Act (30 U.S.C. § 843). Further

Consolidated Appropriations Act, 2024, PL 118-47, 138 Stat. 460, 654 (2024); American Relief

Act, 2025, PL 118-158, 138 Stat. 1722 (2024); Full-Year Continuing Appropriations and

Extensions Act, 2025, PL 119-4, 139 Stat. 4 (2025)

                                          IV. ARGUMENT

        Plaintiff is entitled to a preliminary injunction against Defendants Robert F. Kennedy, Jr.

and the Department of Health and Human Services to reinstate the office that can secure his

statutory right to a job transfer. Plaintiff’s counsel are unaware of any announcements by the HHS

or other indication that the services of the Respiratory Health Division have been replaced.

Recently terminated employee Anthony “Scott” Laney avers that he knows of no plans to replace

terminated employees and that the relevant expertise to carry out the mandatory functions of the

Respiratory Health Division does not exist elsewhere in the Department. (Ex. A.) Mr. Wiley’s Part

90 claim certainly remains utterly inert. As a result, miners, including Harry Wiley, are left to face

daily exposure to hazardous coal and silica dust—aggravating their known, existing disease—

despite their statutory right to transfer to a safer position.

        As explained more fully below, Harry Wiley has constitutional standing to sue. The Court

has jurisdiction over the action and is competent to provide the relief requested. Because Plaintiff

                                                    5
  Case 2:25-cv-00227          Document 8        Filed 04/21/25       Page 7 of 21 PageID #: 136




is likely to succeed on the merits, is likely to suffer irreparable harm in the absence of an injunction,

and because the balance of equities and the public interest are in Plaintiff’s favor, the Court should

preliminarily enjoin Defendants to reestablish the Respiratory Health Division and reinstate the

services of the CWHSP.

A.      Plaintiff Has Standing to Sue

        “Standing under Article III of the Constitution requires that an injury be concrete,

particularized and actual and imminent; fairly traceable to the challenged action; and redressable

by a favorable ruling. Monsanto v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). Although Mr.

Wiley’s standing in this action is easily demonstrated, at the preliminary injunction stage only the

showing of a substantial likelihood of meeting the standing requirements is necessary. See Elec.

Priv. Infor Ctr. v. U.S. Dep’t of Com., 928 F.3d 95, 104 (D.C. Cir. 2019). Mr. Wiley conclusively

meets this standard.

        Unless he can transfer to a safer position under Part 90, Mr. Wiley will continue to be

exposed to hazardous coal and silica dust on a daily basis. Because NIOSH is no longer carrying

out the CWHSP, Mr. Wiley cannot obtain a Part 90 transfer. By effectively cancelling the CWHSP,

Defendants’ termination of NIOSH staff is therefore directly injuring Mr. Wiley every time he

goes to work. That actual injury can be redressed, however, by enjoining the terminations

themselves. By issuing an injunction for the reestablishment of the Respiratory Health Division

and the CWHSP, the Department of Health and Human Services will once again be able to provide

services consistent with their statutory and regulatory duties.

        1.      Plaintiff has suffered an actual or imminent injury in fact

        “To establish injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not



                                                   6
  Case 2:25-cv-00227        Document 8        Filed 04/21/25      Page 8 of 21 PageID #: 137




conjectural or hypothetical.’ Wikimedia Foundation v. National Security Agency, 857 F.3d 193,

207 (4th Cir. 2017) (quoting Spokeo Inc. v. Robbins, 576 U.S. 330, 339 (2016)). The purpose of

this requirement is to ensure that the plaintiff has a “personal stake in the outcome of the

controversy.” Kenny v. Wilson, 885 F.3d 280, 287 (4th Cir. 2018) (quoting Warth v. Seldin, 422

U.S. 490, 498 (1975)). “An allegation of future injury may suffice if the threatened injury is

certainly impending, or there is a substantial risk that the harm will occur.” Id. (quoting Susan B.

Anthony List v. Dreihaus 573 U.S. 149, 158 (2014)).

       Here there should be little doubt that Mr. Wiley meets the requirements of actual and

imminent injury in fact. He has personally been deprived of his statutorily guaranteed right to have

his medical examinations reviewed by HHS for a job transfer. As a consequence, he has a very

real and personal stake in the outcome – he must, on a daily basis, continue to work in a hazardous

environment despite having already developed Black Lung. His health is at risk and his continued

exposure to coal and silica dust imminently threaten to worsen his condition.

       2.      Plaintiff’s injuries are fairly traceable to Defendants’ conduct

       The traceability element of standing “merely requires a causal connection between the

defendant’s conduct and the plaintiff’s injury, such that ‘there is a genuine nexus’ between the

two.” Kadel v. Folwell, 446 F. Supp. 3d 1, 10 (M.D.N.C. 2020) (quoting Friends of the Earth, Inc.

v. Gaston Copper Recycling Corp., 204 F.3d 149, 151 (4th Cir. 2000)). It is not so rigid as to be

an equivalent to the requirement of tort causation. Id. (quoting Huttton v. Nat’l Bd. of Exam’rs in

Optometry, Inc. 892 F.3d 613, 623 (4th Cir. 2018)). Here, the firing of employees at the

Respiratory Health Division has directly deprived Mr. Wiley of his right to have his medical

records examined, and he and his company informed of his right to transfer jobs. Without adequate

staff, the Respiratory Health Division is unable to meet its duties, creating a “genuine nexus”



                                                 7
  Case 2:25-cv-00227          Document 8        Filed 04/21/25      Page 9 of 21 PageID #: 138




between Mr. Wiley’s prolonged exposure to harmful dust and the conduct of the Defendants. To

put it bluntly, Mr. Wiley’s suffering and imminent health risks are a direct result of Defendant

Robert F. Kennedy, Jr.’s cavalier firing of the employees implementing the CWHSP.

        3.      Plaintiff’s injuries are redressable by a favorable ruling by this Court

        An injury is redressable if it is “likely as opposed to merely speculative, that the injury will

be redressed by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Environmental

Services, Inc. 528 U.S. 167, 181 (2000). “[N]o explicit guarantee of redress to a plaintiff is required

to demonstrate a plaintiff’s standing. Equity in Athletics, Inc. v. Dep’t of Educ., 639 F.3d 91, 100

(4th Cir. 2011). A decision by this Court to grant the injunction would effectively reinstate

NIOSH’s Respiratory Health Division and effectuate Mr. Wiley’s right to transfer to a job with

low dust exposure. His health and safety are directly redressed by an injunction.

B.      This Court Should Enjoin Defendant’s Disbandment of the Coal Workers’ Health
        Surveillance Program.

        The standard for preliminary injunctions is well settled. In the Fourth Circuit, plaintiffs

must demonstrate the following: (1) that they are likely to succeed on the merits; (2) that they are

likely to suffer irreparable harm in the absence of preliminary relief; (3) that the balance of equities

tips in their favor; and (4) that an injunction is in the public interest. DiBiase v. SPX Corp., 872

F.3d 224, 230 (4th Cir. 2017) (quoting Winter v. Natural Resource Defense Council, Inc., 555 U.S.

7, 20 (2008)); see also League of Women Voters of N. Carolina v. N. Carolina, 769 F.3d 224, 247

(4th Cir. 2014).

        Prohibitory injunctions “aim to maintain the status quo and prevent irreparable harm while

a lawsuit remains pending.” Pashby v. Delia, 709 F.3d 307, 319 (4th Cir. 2013). The status quo

for this purpose is defined as “the last uncontested status between the parties which preceded the

controversy.” Id. at 320 (internal quotation marks and citation omitted). “To be sure, it is

                                                   8
 Case 2:25-cv-00227          Document 8        Filed 04/21/25      Page 10 of 21 PageID #: 139




sometimes necessary to require a party who has recently disturbed the status quo to reverse its

actions, but . . . [s]uch an injunction restores, rather than disturbs, the status quo ante.” Aggarao v.

MOL Ship Mgmt. Co., 675 F.3d 355, 378 (4th Cir. 2012) (internal quotation marks and citation

omitted). Under the balance of hardship test the Court considers the four Winter factors in “flexible

interplay.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Bradley, 756 F.2d 1048, 1054 (4th Cir.

1985).

         1.    Plaintiff is likely to succeed on the merits

               a.      The HHS action was a “final action” subject to judicial review under
                       the Administrative Procedure Act

         Under the Administrative Procedure Act (“APA”), courts may review “final agency

action.” 5 U.S.C. § 704. Agency action is final if it “mark[s] the consummation of the agency’s

decisionmaking process” and determines “rights or obligations . . . from which legal consequences

will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997). Here, letters of termination and/or

administrative layoffs have been sent to staff for the Respiratory Health Division. See, e.g.,

Attachment A to the Verified Statement of Anthony Scott Laney (Ex. A). While Mr. Kennedy

acknowledges that some HHS cuts may have been a mistake, “[t]he mere possibility that an agency

might reconsider” its decision “does not suffice to make an otherwise final agency action

nonfinal.” Sackett v. EPA, 566 U.S. 120, 127 (2012).

         The determination of whether an agency action has “direct and applicable legal

consequences” under Bennett is a “pragmatic” inquiry. Sierra Club v. Environmental Protection

Agency, 955 F.3d 56, 62 (D.C. Cir. 2020) (quoting U.S. Army Corps of Engineers v. Hawkes, Co.

578 U.S. 590, 599 (2016)). Here the consequences are obvious. Critical staff of the Respiratory

Health Division have been terminated or placed on administrative leave. As a result, the

Department of Health and Human Services is not fulfilling its statutory and regulatory mandates.

                                                   9
 Case 2:25-cv-00227         Document 8       Filed 04/21/25      Page 11 of 21 PageID #: 140




Miners such as Harry Wiley are left without recourse to obtain their statutorily guaranteed right to

a job transfer if they develop signs of Black Lung.

               b.      Defendants’ actions were arbitrary and capricious

       On the merits, Defendants’ actions to terminate critical employees from the Respiratory

Health Division are arbitrary and capricious. The APA requires courts to “hold unlawful and set

aside” any agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law.” 5 U.S.C. § 706(2)(A). Under that standard, the reviewing court “must

confirm that the agency has fulfilled its duty to ‘examine the relevant data and articulate a

satisfactory explanation for its action including a rational connection between the facts found and

the choices made.” ArkInitiative v. Tidwell, 816 F.3d 119, 127 (D.C. Cir. 2016) (quoting Motor

Vehicles Mfrs. Ass’n of the U.S., Inc. v. State Farm Mutual Ins. Co. 463 U.S. 29, 43 (1983)).

Moreover, an agency changing its course “is obligated to supply a reasoned analysis for the change

beyond that which may be required when an agency does not act in the first instance.” See Motor

Vehicles Mfs. Ass’n, 563 U.S. at 42; see also Aids Vaccine Advocacy Coal. v. U.S. Dep’t of State,

No. CV 25-00400 (AHA), 2025 U.S. Dist. LEXIS 42875, 2025 WL 752378, at *10 (D.D.C. Mar.

10, 2025) (“When an agency suddenly changes course, it must recognize ‘longstanding policies

may have engendered serious reliance interests that must be taken into account.’” (quoting Dep’t

of Homeland Sec. v. Regents of Univ. of Cal., 591 U.S. 1, 30 (2020)) (internal citations omitted).

       HHS has offered no explanation for how it will continue its mission despite laying off most

of the staff at the Respiratory Heath Division. See Department of Health and Human Services Press

Release (March 27, 2025) (Ex. D). No information has been provided as to how employees

responsible for reading specialized medical tests and interpreting examinations will be replaced.

As Mr. Wiley’s experience exemplifies, the Department is simply not fulfilling its congressionally



                                                10
    Case 2:25-cv-00227      Document 8       Filed 04/21/25      Page 12 of 21 PageID #: 141




dedicated role to implement the provisions of the Mine Act. Secretary Robert F. Kennedy, Jr. has

already admitted there will be mistakes made in program cuts and that he is not familiar with all

of the program cuts that have been implemented. (See Exs. B, C.) The cuts, in other words, appear

to be based on nothing more than an ill-conceived desire for general, sweeping budget cuts.

               c.      Defendants’ actions are contrary to law because they violate the Mine
                       Act

        Defendants’ actions are contrary to law because they eviscerate rights to miners guaranteed

under the Mine Act and leave the Department of Health and Human Services unable to fulfill

mandatory duties required by statute and regulation. Pursuant to 30 U.S.C. § 843(b) a miner who

shows signs of CMDLD “shall be afforded the option of transferring from his position to another

position in any area of the mine, for such period or periods as may be necessary to prevent further

development of such disease. . .”      HHS cannot fulfill that duty without providing for the

conducting, evaluation and classification of miners’ test results. 30 U.S.C. § 843(a). When it fired

the NIOSH staff with the capacity and expertise to facilitate that testing and classification, HHS

stopped complying with § 843. As described above, HHS classifications are also the crucial link

in the Part 90 regulatory scheme—now that NIOSH is not making those classifications, neither

HHS nor the Department of Labor is able to fulfill its responsibilities under the regulations. 4 See

30 C.F.R. § 90.3; 42 C.F.R. § 37.103. 5



4
  “So long as the [agency’s] regulations ‘provide a meaningful standard by which the court could
review the agency’s actions” and [the court’s] review does not “infringe any of the agency’s
prerogatives under the statute’ then [the court] has jurisdiction pursuant to the APA to review the
agency’s compliance with its own regulations.” Trout Unlimited v. Pirzadeh, 1, F.4th 738, 752
(9th Cir. 2021) (quoting ASSE Int’l, Inc. v. Kerry, 803 F.3d 1059, 1069 (9th Cir. 2015) (internal
brackets omitted).
5
 The disbandment of the Respiratory Health Division is also a violation of the Secretary’s
mandatory duty to make health screenings available to miners in their own locality. 30 U.S.C. §
843(c) (“Where such examinations or tests cannot be given. . . in the locality where the miner
                                                11
 Case 2:25-cv-00227         Document 8        Filed 04/21/25      Page 13 of 21 PageID #: 142




       Without staff at the Respiratory Health Division to carry out duties and responsibilities of

the Department of Health and Human Services under the Mine Act, the entire Part 90 transfer

program has effectively been eliminated. The Division is no longer providing services, and no

alternatives have been made available. Miners like Mr. Wiley are denied the rights guaranteed

under the Mine Act and are forced to continue working in dangerous positions that seriously

compromise their health.

               d.      Defendants’ actions are contrary to law because they constitute an
                       illegal impoundment

       The firings at the Respiratory Health Division were also contrary to law because they

constituted an illegal impoundment in violation of the Constitution’s separation of powers, the

Impoundment Control Act of 1974, and the congressional mandate of the 2024 appropriations bill

(including appropriations that were continued into the relevant period).

       The Administrative Procedure Act provides for the setting aside of unconstitutional agency

actions challenged under the act. 5 U.S.C. § 706; F.C.C. v. Fox Television Stations, Inc., 566 U.S.

502, 516 (2009) (“the Administrative Procedure Act separately provides for setting aside agency

action that is ‘unlawful,’ 5 U.S.C. § 706(2)(A), which of course includes unconstitutional action.”).

As the Supreme Court has explained, the Constitution was written to guarantee, as much as

possible, “that each Branch of government would confine itself to its assigned responsibility.”

Immigration and Naturalization Service v. Chadha, 462 U.S. 919, 951 (1983). When “considering




resides, arrangements shall be made to have them conducted, . . in such locality by the Secretary
of Health and Human Services.”). The denial of these services means that miners who are part of
the putative class will not have access to the free screenings that have been provided by
Respiratory Health Division. To be sure, Mr. Wiley will have to pay expenses out of his own
pocket for follow-up or future screenings – despite the Secretary’s duty to provide local
examinations and tests in a miner’s locality at no cost to the miners themselves. 30 U.S.C. §
843(c).
                                                 12
 Case 2:25-cv-00227          Document 8       Filed 04/21/25       Page 14 of 21 PageID #: 143




claims of Presidential power” and whether they are commensurate with the Constitutional

separation of powers, courts should refer to “Justice Jackson's familiar tripartite framework from

Youngstown Sheet & Tube Co. v. Sawyer.” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10

(2015) (citing Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952)). Youngstown

reinforces the principle that the “President's power, if any, to issue [an] order must stem either from

an act of Congress or from the Constitution itself,” Youngstown, 343 U.S. at 585, and Justice

Jackson’s concurrence sets forth the further principle that “[w]hen the President takes measures

incompatible with the expressed or implied will of Congress, his power is at its lowest ebb.” Id. at

637 (J. Jackson, concurring).

       Congress has “exclusive power over the federal purse.” U.S. Dept. of Navy v. Federal Labor

Relations Authority, 665 F.3d 1339, 1346 (D.C. Cir. 2012) (Kavanaugh, J.) (quoting Rochester

Pure Waters Dist. v. E.P.A., 960 F.2d 180, 185 (D.C. Cir. 1992)). Funding decisions are therefore

clearly not beyond the control of Congress, meaning that they cannot be countermanded by the

executive branch, including Defendants. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

640 (1952).

       On the basis of this Constitutional authority, Congress has set strict limits, through the

Impoundment Control Act, for how the executive can respond to Congressional appropriations and

spending directives. 2 U.S.C. §§ 682-88. Specifically, “[w]henever the President determines that

all or part of any budget authority will not be required to carry out the full objectives or scope of

programs for which it is provided or that such budget authority should be rescinded for fiscal policy

or other reasons” the executive is directed to propose such a rescission to Congress, at which point

Congress can act on the proposal – the executive branch cannot change budgetary authority on its

own authority. 2 U.S.C. § 683. The executive branch cannot even defer the use of budgetary



                                                  13
    Case 2:25-cv-00227       Document 8        Filed 04/21/25       Page 15 of 21 PageID #: 144




authority except “(1) to provide for contingencies; (2) to achieve savings made possible by or

through changes in requirements or greater efficiency of operations; or (3) as specifically provided

by law,” and even then only after a detailed message to Congress describing the reasons for and

duration of the deferral. 2 U.S.C. § 684.

        Congress specifically appropriated $362,800,000 to NIOSH in 2024 “[f]or carrying out . .

. sections 101, 102, 103, 201, 202, 203, 301, and 501 of the Federal Mine Safety and Health Act,”

as well as other statutory directives. Further Consolidated Appropriations Act, 2024, PL 118-47,

138 Stat. 460, 654 (2024). Funding for carrying out those directives has been continued through

to the present. American Relief Act, 2025, PL 118-158, 138 Stat. 1722 (2024); Full-Year

Continuing Appropriations and Extensions Act, 2025, PL 119-4, 139 Stat. 4 (2025). As described

above, section 203 (codified at 30 U.S.C. § 843) requires NIOSH to carry out Black Lung

evaluations like the one requested by Mr. Wiley. 30 U.S.C. § 843, P.L. 91–173, title II, sec. 203,

83 Stat. 763 (1969). Congress’s appropriations mandate that NIOSH spend the money necessary

to carry out those evaluations. An implication of that command – a necessary implication – is that

Defendants staff the CWHSP so that someone actually completes the necessary tasks. 6



6
  This is not a situation in which a program has been funded out of a lump-sum appropriation that
gives Defendants discretion to reallocate its funds. See Lincoln v. Vigil, 508 U.S. 182, 187, 193
(1993). And, unlike the appropriation at issue in the 2002 Milk Train case, there is no language in
the 2024 appropriations bill giving the Department of Health and Human Services any discretion
as to whether and in what manner to “carry[] out . . . section . . . 203 . . . of the Federal Mine Safety
and Health Act.” Further Consolidated Appropriations Act 2024, PL 118-47, 138 Stat. 460, 654
(2024); Milk Train, Inc. v. Veneman, 310 F.3d 747, 751-52 (D.C. Cir. 2002) (holding that, when an
amount was appropriated to be spent “in a manner determined appropriate by the Secretary,” the
courts had no jurisdiction to review the Secretary of Agriculture’s technical decision on how to
apportion aid between milk producers who lost revenue in 1998 and 1999). Under 30 U.S.C. §
843(a) HHS has the discretion to determine the best way to collect and evaluate tests submitted to
it under the Act, as well as create procedures for distributing those results so miners can take
advantage of the options afforded to them by the Act, and the Department of Health and Human
Services has in fact done so. See 42 C.F.R. § 37.1-204; 30 C.F.R. 90.3. The Department of Health
and Human Services does not have the discretion to fire the staff responsible for collecting and
                                                   14
    Case 2:25-cv-00227      Document 8          Filed 04/21/25   Page 16 of 21 PageID #: 145




        As described above, HHS has terminated the personnel who had the capacity and expertise

to carry out the CWHSP, meaning that the Department no longer can, and in fact is not, operating

the program. There is no indication that the CWHSP is being undertaken by any other employees

at HHS, and it is unclear if it could be. Unless HHS rehires the Respiratory Health Division

personnel before they permanently find other employment, it will not be able to revive the

CWHSP’s expertise. Not only have Defendants neglected to spend the money that Congress

intended for the CWHSP since April 1, therefore, it has also created a risk of disabling the CWHSP

for the long term. The money that Congress appropriated for miners like Mr. Wiley has been

illegally impounded by HHS and is being used for unknown purposes that do not serve Congress’

goals or the health of miners like Mr. Wiley.

        There are no other statutes or Constitutional provisions that give HHS the authority to

impound those funds. See Youngstown Sheet & Tube Co., 343 U.S. at 585. The firing of the

Respiratory Health Division staff was therefore contrary to law under the Administrative

Procedure Act, and this Court should order the Department of Health and Human Services to

reinstate the Respiratory Health Division Staff so that NIOSH can spend the funds appropriated

by Congress in the manner that Congress directed. 7


evaluating those tests, thereby impounding the funds appropriated by Congress for the benefit of
miners like Mr. Wiley.
7
  In doing so, this Court would join many courts that have consistently restrained the attempts of
at least the last four presidential administrations to interfere with Congress’ exclusive power to
direct the spending of federal funds. See In re Aiken County, 725 F.3d 255, 259-61 (D.C. Cir. 2013);
City and County of San Francisco v. Trump, 897 F.3d 1225, 1231-35 (9th Cir. 2018); General Land
Office v. Biden, 722 F. Supp. 3d 710, 738-43 (S.D. Tex. 2024); Washington v. Trump, No. 2:25-cv-
00244-LK, 2025 U.S. Dist. LEXIS 36890, 2025 WL 659057, at *11-12 (W.D. Wash. Feb. 28,
2025); PFLAG, Inc. v. Trump, No. 25-337-BAH, 2025 U.S. Dist. LEXIS 38036, 2025 WL 685124
at *18-20 (D. Md. March 4, 2025); New York v. Trump, No. 25-cv-39-JJM-PAS, 2025 U.S. Dist.
LEXIS 40346, 2025 WL 715621 at *9-11 (D. R.I. March 6, 2025); Aids Vaccine Advocacy
Coalition v. United States Department of State, 2025 U.S. Dist. LEXIS 42875, 2025 WL 752378
at *14-18 (D.D.C. March 10, 2025).

                                                  15
    Case 2:25-cv-00227      Document 8        Filed 04/21/25      Page 17 of 21 PageID #: 146




               e.      The effective closure of the CWHSP has deprived Mr. Wiley of his Fifth
                       Amendment due process rights

        The Supreme Court has long acknowledged that statutory entitlements are protected by the

due process requirements of the Fifth Amendment. 8 Goldberg v. Kelly, 397 U.S. 254, 262 (1970).

The statutory entitlement at issue here is Mr. Wiley’s right to retain his employment without

sacrificing his health and his life. Since Defendants effectively closed the CWHSP, Mr. Wiley’s

effort to get a Part 90 transfer has been blocked without any hearing or even response from HHS.

Verified Statement of Harry Wiley (Ex. G). Defendants’ unlawful actions have therefore also

deprived Mr. Wiley “of life, liberty, or property, without due process of law.” U.S. Const. am. V.

        2.     Plaintiff and putative class members are likely to suffer irreparable harm if
               an injunction is not granted

        Irreparable harm for purposes of a preliminary injunction “is suffered when monetary

damages are difficult to ascertain or are inadequate.” Multi-Challenel TV Cable Co. v.

Charlottesville Quality Cable Operating Co., 22 F.3d 546, 551 (4th Cir. 1991) (quoting Danielson

v. Loc. 275 Laborers Int’l Union of N. Am. AFL-CIO, 479 F.2d 1033, 1037 (2d Cir. 1973)). In this

Circuit, the denial of a statutory right guaranteeing high-quality health care suited to a person’s

individual needs is sufficient to demonstrate irreparable harm. See Planned Parenthood v. Baker

(“Baker”) 941 F.3d 687, 707 (4th Cir. 2020) (“It is clear that the plaintiff would suffer irreparable

harm in the absence of a preliminary injunction. Denial of her statutory right to select a qualified

provider visits a tangible harm: diminished access to high-quality health care suited to the




8
  Such entitlements can include “subsidies to farmers and businessmen, routes for airlines and
channels for television stations; long term contracts for defense, space, and education; social
security pensions for individuals.” Goldberg, 397 U.S. n. 8. Many of these, like Mr. Wiley’s right
to a Part 90 transfer, merely provide a way to make a living—the Supreme Court’s examples do
not reach the importance of Mr. Wiley’s right because they do not involve the same health and
safety protections.
                                                 16
 Case 2:25-cv-00227          Document 8      Filed 04/21/25      Page 18 of 21 PageID #: 147




plaintiff’s needs.”); see also PFLAG Inc. v. Trump, 2025 WL 510050 at *22 (D. Md. Feb. 14,

2025) (“The circumstances in this case yield no justification to depart from the Fourth Circuit's

reasoning in Baker, as the sudden denial of medical care “visits a tangible harm” on the health and

well-being of Plaintiffs.)

       The harm to Mr. Wiley is much greater than that visited upon the plaintiff in Baker. He has

not simply been denied his statutory right to choose a qualified healthcare provider – he has been

denied his right to a guaranteed medical accommodation. Black Lung is a progressive and

irreversible disease that can progress from pneumoconiosis to progressive massive fibrosis. (Exs.

A, G.) Mr. Wiley is unable to transfer to a less hazardous position because of the actions of the

Defendants. Without an injunction he faces daily exposure to dangerous levels of coal and silica

dust and health consequences that cannot be adequately remedied by monetary damages.

       3.      The balance of equities and public interest favor Plaintiff

       “When a plaintiff seeks preliminary injunctive relief against the Government, the balance

of the equities and the public interest factors merge.” Jensen v. Md. Cannabis Admin. 719 F. Supp.

3d 466, 478 (D. Md. 2024) (citing Nken v. Holder, 556 U.S. 418, 435 (2009) and Roe v. Dep’t of

Def. 947 F.3d 207, 230 (4th Cir. 2020)). “This is so because the government’s interest is the public

interest in such a case.” Id. (internal quotations and citations omitted) (emphasis in original). As

such these two factors should be considered together.

       “It is well established that the Government cannot suffer harm from an injunction that

merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020)

(quotation marks and citations omitted). Likewise, “[t]here is generally no public interest in the

perpetuation of unlawful agency action.” Open Communities Alliance v. Carson, 286 F. Supp. 3d

148, 179 (D.D.C. 2017). “To the contrary, there is a substantial public interest in having

governmental agencies abide by the federal laws—such as the APA, as well as regulations … —

                                                17
 Case 2:25-cv-00227          Document 8       Filed 04/21/25       Page 19 of 21 PageID #: 148




that govern their existence and operations.” Id. (internal quotation marks and citations omitted).

Because the Plaintiff challenges and is likely to succeed on claims that the Defendants’ actions are

arbitrary and capricious under the APA and not in accordance with the mandates of the Mine Act,

its implementing regulations, and the statutory and Constitutional restrictions on impoundments,

the balance of equities and public interest favor the Plaintiff.

       But, even if the Court were to consider the balance of equities and public interest

separately, and as if the Defendants were not government actors, the test would still tip strongly

towards Plaintiff. On the balance of equities, Plaintiff is being denied a statutory right and a

necessary medical accommodation to prevent the progression of a disease and the onset of a more

serious illness. In contrast Robert F. Kennedy, Jr. and the Department of Health and Human

Services seek to impose gross cost saving measures, some of which the Secretary himself has

already admitted are “mistakes.” (Ex. B.) But an injunction here would only be a pause to such

cost savings. A temporary suspension of a government effort to decrease costs is not enough to

overcome the balance of equities to a plaintiff that is facing negative health outcomes. See Ass’n

of Community Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 502 (D. Md. 2020) (“Should [the

government] prevail in this litigation, it will only suffer a delay in implementation of the rule.”).

       To be clear, Plaintiff does not allege that HHS may not be reorganized. If such

reorganization is to occur, however, it must be conducted rationally with due regard to the statutory

mandates and purposes of the Mine Act. This Court should reverse the hasty and overly broad

termination of the entire RHD, whose personnel were all integral to the functioning of the

mandatory Mine Act programs. While Congress or the Defendants may be able to fashion more

finely tailored cuts to the agency, such line drawing is not within the province of this Court. The

only practical means by which this Court can redress the closure of the mandatory Mine Act



                                                  18
 Case 2:25-cv-00227         Document 8       Filed 04/21/25      Page 20 of 21 PageID #: 149




programs is by enjoining and reversing the wholesale RHD Closure. (Ex. A at ¶ 15.) The

wholesale termination of medical staff trained and experienced in detecting Black Lung is simply

not consistent with the functioning of these mandatory programs. There is no evidence of a plan

to replace these employees and others within the Department lack the specialized expertise to carry

out the CWHSP. Verified Statement of Anthony Scott Laney (Ex. A at ¶¶ 16, 1.)

       The public interest in maintaining these programs is demonstrated in Congress’s own

statements of purpose of the Mine Act and its predecessor, the Coal Mine Safety and Health Act.

In establishing the programs to protect coal miners’ health, including the job transfer program,

Congress recognized “the first priority and concern of all in the coal or other mining industry must

be the health and safety of its most precious resource: the miner. 30 U.S.C. § 801(a). Congress

further noted that “deaths and serious injuries from unsafe and unhealthful conditions and practices

in the coal and other mines cause grief and suffering to miners and their families.” Id. at 801(b).

Finally, Congress recognized “an urgent need to . . . improv[e] working conditions and practices

in the Nation’s coal and other mines in order to prevent death and serious physical harm, and in

order to prevent occupational diseases originating in such mines.” Id. at 801(c). More recently,

West Virginia Senator Shelley Moore Capito recognized that cuts to the CWHSP could impact

“vital health programs that are important to many West Virginians, especially our coal miners”

and called for the immediate restoration of health monitoring. Charles Young, “West Virginia Sen.

Capito Raises Alarm over NIOSH Cuts Threatening Coal Miner Health; Reports Indicate,” WV

News (April 2, 2025) (Ex. H). Congress itself has recognized the important public interest in the

medical monitoring and job transfer programs established in 30 U.S.C. § 843. So too, should this

Court acknowledge the serious ramifications of the action taken by Robert F. Kennedy, Jr. and the




                                                19
 Case 2:25-cv-00227         Document 8       Filed 04/21/25      Page 21 of 21 PageID #: 150




Department of Health and Human Services in denying miners like Mr. Wiley the right to safeguard

their health through the accommodation of a job transfer.

                                       V. CONCLUSION

       Plaintiff has established he is entitled to a Preliminary Injunction restoring the Respiratory

Health Division of NIOSH. Harry Wiley and members of the putative class presently are facing

imminent harm in the form of prolonged exposure to coal and silica dust. The Defendant, Secretary

Robert F. Kennedy, Jr. and West Virginia federal officials have recognized that the layoff of

NIOSH employees was a mistake. Plaintiff therefore respectfully requests that this clear mistake

be corrected forthwith and that his application for a Preliminary Injunction be granted.

                                                      Respectfully Submitted,
                                                      HARRY WILEY, individually
                                                      and on behalf of all others similarly
                                                      situated,
                                                      By counsel:


 /s/ Samuel B. Petsonk                                 /s/ J. Michael Becher
Samuel B. Petsonk (WVSB #12418)                       J. Michael Becher (W.Va. Bar # 10588)
PETSONK PLLC                                          APPALACHIAN MOUNTAIN
PO Box 1045                                           ADVOCATES
Beckley, WV 25802                                     PO Box 507
(304) 900-3171 (phone)                                Lewisburg, WV 24901
(304) 986-4633 (fax)                                  (304) 382-4798
sam@petsonk.com                                       mbecher@appalmad.org

 /s/ Bren J. Pomponio
Bren J. Pomponio (WVSB #7774)
MOUNTAIN STATE JUSTICE, INC.
1217 Quarrier Street
Charleston, West Virginia 25301
(304) 344-5565
(304) 344-3145 (fax)
bren@msjlaw.org




                                                20
